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                       IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                     *

v.                                           *       Criminal No.: RDB-19-020

PAUL ALEXANDER                               *

       Defendant                             *

*      *       *      *        *      *      *       *      *       *       *      *

                    DEFENDANT’S REQUEST FOR GOVERNMENTS
                      INTENT TO USE RULE 404(B) EVIDENCE

       NOW COMES Paul Alexander, through his attorney, Russell A. Neverdon, Sr., of the Law

Office of Russell A. Neverdon, Sr., pursuant to Fed. R. Crim. P. 12(b)(4), and Rules104(a) and

404(b) of the Federal Rules of Evidence, and in order to allow the Defendant the opportunity to

ﬁle appropriate motions in limine prior to trial, requests notice of the Government’s intention to

use any evidence that it contends would be admissible under Rule 404(b). In support thereof,

Defendant states as follows:

1.     Defendant is charged with drug conspiracy and possession with intent to distribute

narcotics. Defendant expects that the Government will seek to offer speciﬁc prior bad acts

allegedly committed by Defendant.

2.     Discovery has been provided by the Government, but the Defendant anticipates the

production of additional documents by the Government prior to the trial in this matter.

3.     In light of the nature of the investigation conducted by the Government in the instant case,

if the Government intends to introduce at the trial of this case information or evidence pertaining

to antecedent or subsequent conduct of the Defendant (other “wrongs, crimes or acts”) pursuant to

Rule 404(b) of the Federal Rules of Evidence, the defense should be put on notice of the exact
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nature of this evidence, the witness pertaining thereto, and any documents in support thereof in

advance of trial. Such a procedure is necessary to enable the Defendant to file appropriate pretrial

motions in limine, and to allow this Court to make a pretrial determination of the admissibility of

any such evidence proffered by the Government.

4.     In addition, the Defendant requests notice of the Government’s intention to introduce into

evidence pursuant to Rule 404(b) any evidence of other crimes, wrongs, or acts allegedly

committed by any indicted or unindicted co-conspirator. Pretrial notice of the Government’s

intention in this regard is necessary to enable Defendant to consider the potential prejudice to his

case as a result of the admission of such evidence at trial.

       WHEREFORE, Paul Alexander, respectfully requests notice of the Government’s

intention to use any evidence that it contends would be admissible under Rule 404(b).



                                               Respectfully submitted,

                                               ____________/s/________________
                                               Russell A. Neverdon, Sr., Esquire
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                                               711Saint Paul Street
                                               Baltimore, Maryland 21202
                                               (410) 235-2184 Phone
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                                               Attorney for the Defendant




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 25th day of June, 2019, a copy of the foregoing Motion

to Identify 404(b) Evidence was ﬁled electronically and e-mailed to Ofﬁce of the United States

Attorney, Baltimore, Maryland 21201.



                                           ____________/s/________________
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